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                        UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

  CHARLENE CARTER,                            §
                                              §
         Plaintiff,                           §
                                              §
  v.                                          §
                                              §   Civil Action No. 3:17-cv-2278-X
  TRANSPORT WORKERS UNION                     §
  OF AMERICA, LOCAL 556, and                  §
  SOUTHWEST AIRLINES CO.,                     §
                                              §
         Defendants.                          §

                      MEMORANDUM OPINION AND ORDER

       Bags fly free with Southwest. But free speech didn’t fly at all with Southwest

in this case. Charlene Carter—a pro-life Christian—worked as a Southwest Airlines

Co. (“Southwest”) flight attendant for over two decades. After Carter expressed her

pro-life beliefs to her union president, Southwest fired Carter. A jury found that

Southwest and the flight attendants’ union, Transport Workers Union Local 556

(“Local 556”), discriminated against Carter for her protected speech about religion

and unions, and it awarded her compensatory and punitive damages. Carter now

moves for entry of judgment on that verdict. [Doc. No. 351].

       For reasons more fully explained below, the Court GRANTS IN PART and

DENIES IN PART Carter’s motion. Regarding money, Carter is entitled to the

jury’s monetary award, as modified by federal law caps on punitive and compensatory

damages.    Specifically, the Court awards Carter $300,000 in compensatory and

punitive damages from Southwest, $300,000 in compensatory and punitive damages



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from Local 556, $150,000 jointly and severally from Southwest and Local 556 for back

pay, and $60,180.82 jointly and severally from Southwest and Local 556 in

prejudgment interest.

      The jury also awarded front (or future) pay, but Carter would rather have her

job back. The Court reinstates Carter to her former position, which is the remedy

that Title VII prefers over front pay. Southwest may “wanna get away” from Carter

because she might continue to express her beliefs, but the jury found that Southwest

unlawfully terminated Carter for her protected expressions. If the Court opted for

front pay over reinstatement, the Court would complete Southwest’s unlawful

scheme. Reinstatement is appropriate.

      The remaining issue is what would happen if, after Carter’s reinstatement,

Southwest fires her again over her protected speech. Title VII and the Railway Labor

Act account for this with injunctive relief. Carter asks for an injunction under Title

VII for religious speech and one under the Railway Labor Act for union speech. Title

VII calls for broad injunctions to restrain employers from harming others like they

harmed a prevailing plaintiff. As the Fifth Circuit put it, a plaintiff in a “Title VII

suit takes on the mant[le] of the sovereign” with the purpose of “eliminat[ing]

discrimination and recompens[ing] those who have suffered from it.”1 Our founders

ensured that government doesn’t discriminate against the religious exercise of

Americans, and Congress made sure in Title VII that companies don’t discriminate

against the religious exercise of their employees. So Carter now takes on the mantle



      1 Meyer v. Brown & Root Const. Co., 661 F.2d 369, 373 (5th Cir. 1981) (cleaned up).



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of the sovereign to protect the religious exercises of Southwest flight attendants.

Under Title VII, the Court enjoins Southwest and Local 556 from violating the

religious speech of Southwest flight attendants.       And the Court also requires

Southwest and Local 556 to notify their flight attendants of this Title VII injunction

that now applies to them. The Railway Labor Act calls for narrower injunctions, so

the Court enjoins Southwest and Local 556 from violating Carter’s protected union

speech.

                               I. Factual Background

      In 2017, a flock of Southwest flight attendants descended upon Washington,

D.C. for the so-called “Women’s March” protesting President Donald J. Trump. Those

flight attendants were also Local 556 members, and one—Audrey Stone—was the

union’s president.       During the march, they carried signage emblazoned with

Southwest’s logo.     Carter, a pro-life Christian, objected to the flight attendants’

purported representation of Local 556, Southwest, and, by extension, herself—

especially given Planned Parenthood’s sponsorship of the protest.       To voice her

objection, Carter sent Stone several private Facebook messages, some of which

contained videos of aborted babies. In one of those messages, Carter said, “[t]his is

what you supported during your Paid Leave with others at the Women’s MARCH.”2

      Stone filed a complaint against Carter with Southwest.         After a hearing,

Southwest fired Carter, saying that when Carter messaged Stone, she was




      2 Doc. No. 80 at 12.



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“identifiable as a Southwest Airlines Employee and represented our Company in a

manner that is disparaging to Southwest Flight Attendants.”3

       Carter sued, alleging that (1) Local 556 had breached its duty of fair

representation, (2) Southwest and Local 556 had retaliated against Carter for

exercising her protected rights under the Railway Labor Act (“RLA”), and

(3) Southwest and Local 556 had discriminated against Carter for her religious beliefs

and practices under Title VII. A jury found for Carter on each claim, awarding her

$150,000 for lost wages and benefits, $500,000 for pain and suffering, and $3,800,000

in punitive damages.

       Carter now moves for judgment on that verdict.4

                                          II. Analysis

       Carter seeks (A) reinstatement, (B) backpay, (C) prejudgment interest,

(D) compensatory and punitive damages, (E) declaratory relief, and (F) injunctive

relief. Except for declaratory relief, the Court GRANTS each form of relief.

                                       A. Reinstatement

       Carter asks the Court to reinstate her as a Southwest flight attendant with

full seniority and benefits.5 When a company wrongfully terminates an employee,



       3 Doc. No. 80-5 at 2.

       4 See FED. R. CIV. PROC. 58(a) (recognizing that, after a jury verdict, the Court must enter

judgment “in a separate document”).
        5 Alternatively, Carter requests front pay. Because the Court grants reinstatement, it need

not reach the issue of front pay. In addition, Southwest argues in passing that reinstatement would
disturb the finality of an arbitration decision. Doc. No. 355 at 10, 20. But Southwest merely recycles
a failed argument the Court already rejected. See Doc. No. 232 at 16 (“The arbitrator found simply
that Southwest had ‘just cause’ . . . to terminate Carter’s employment, while Carter’s claims in this
suit—Title VII and Railway Labor Act claims—involve markedly different legal standards.”).

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reinstatement is “the preferred equitable remedy under Title VII.”6 Courts should

grant reinstatement “in all but the unusual cases”7 because it “restores not just the

financial benefits of a job but also the psychological benefits of work.”8 To determine

whether reinstatement is appropriate, courts consider factors including (1) “whether

positions now exist comparable to the plaintiff’s former position,” (2) “whether

reinstatement would require an employer to displace an existing employee,”

(3) “whether the plaintiff has changed careers,” and (4) “whether animosity exists

between the plaintiff and [her] former employer.”9

       Southwest doesn’t contest that those first two factors favor Carter. First,

comparable positions exist because Southwest still employs flight attendants.

Second, reinstatement would not displace existing employees as Southwest recently

experienced “an acute staffing shortfall” and struggled to “hire enough staff to keep

up with a return in travel demand.”10 Local 556 has even “implored Southwest to

hire more staff.”11 “[E]xisting vacancies” are not wanting.12

       On the third factor, Southwest agrees that Carter has not “formally changed

careers.”13    Regardless, Southwest maintains—in a solitary footnote—that “this



       6 Bogan v. MTD Consumer Grp., 919 F.3d 332, 336 (5th Cir. 2019); see also 42 U.S.C. § 2000e-

5(g)(1) (allowing reinstatement).
       7 Garza v. Brownsville Indep. Sch. Dist., 700 F.2d 253, 255 (5th Cir. 1983).

       8 Bogan, 919 F.3d at 336 (cleaned up).

       9 Palasota v. Haggar Clothing Co., 499 F.3d 474, 489 (5th Cir. 2007).

       10 Doc. No. 351 at 11 (cleaned up).

       11 Id. at 12 (cleaned up).

       12 Ray v. Iuka Special Mun. Separate Sch. Dist., 51 F.3d 1246, 1254 (5th Cir. 1995).

       13 Doc. No. 355 at 7 n.1.



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factor weighs against reinstatement” because Carter’s attempts “to secure

employment with other airlines” have been, in Southwest’s estimation, “modest.”14

But that’s irrelevant. The test is not whether Carter successfully maintained her old

career but instead whether she affirmatively “changed careers.”15

       Southwest next attempts to concoct a career change by citing Carter’s

volunteer work. During her employment with Southwest, Carter began volunteering

at non-profit entities that help children in poor school districts, and she continues to

do so now.16 Although Southwest apparently prefers that its wrongfully terminated,

former flight attendants not provide educations to underserved children, that won’t

fly here.       Courts find career changes where plaintiffs seek new lines of paid

employment—not where they volunteer.17 The Court declines Southwest’s invitation

to manufacture a career change out of volunteer work.

       Fourth, Southwest contends that animosity “alone strongly mitigates [sic]

against reinstatement” because “contentious litigation . . . ha[s] irreparably harmed

the parties’ relationships.”18 Courts are wary of putting too much stock in animosity

because animosity “is a natural by-product of lawsuits, often even more so for ones




       14 Id.

       15 Palasota, 499 F.3d at 489.

        16 See Doc. No. 356-2 at 4–5. Carter has also earned a relatively small sum of money as a part-

time Pilates instructor. Id. at 4. Southwest rightfully doesn’t contend that Carter’s Pilates stint
constitutes a career change.
       17 See, e.g., Bogan, 919 F.3d at 335 (finding a career change where the plaintiff sought
reinstatement as a “machinist” but had gone “to school for a degree in social work”).
       18 Doc. No. 355 at 11 (emphasis added).



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alleging discrimination.”19 For good reason, then, courts usually rely on animosity

concerns as the cherry on top of other factors militating against reinstatement—not

as the sole basis for avoiding reinstatement.20 Thus, Southwest’s near-exclusive

reliance on animosity foreshadows a flimsy case against reinstatement from the get-

go.

        For animosity to militate against reinstatement, it “must rise to the level at

which the parties’ relationship is ‘irreparably damaged’” such that reinstatement

would likely “disrupt the workplace.”21 Southwest alleges irreconcilable animosity

based      on    Carter’s      (a) trial-related       communications,       (b) policy    critiques,

(c) professional relationships, and (d) political views. The Court takes each category

in turn.

                             a. Trial-Related Communications

        Southwest decries two communications about the instant case. First, Carter

posted an article about her case on Facebook, criticized Southwest’s supposed greed,

and accused Southwest and Local 566 of “[c]olluding.”22 Second, Carter joined a

Facebook group dedicated to disseminating transcripts from her trial.23 Southwest



        19 Bogan, 919 F.3d at 338.

        20 See, e.g., Anderson v. City of McComb, No. 5:13CV263TSL-MTP, 2015 WL 11439036, at *1

(S.D. Miss. Mar. 19, 2015) (concluding that “reinstatement [was] not feasible” and noting that this
finding was “further bolstered by the parties’ history of animosity” (emphasis added)); Bogan, 919
F.3d at 337 (recognizing that the district court relied on “two [other factors] that [] counsel against
reinstatement”); Palasota, 499 F.3d at 490 (considering hostility only after acknowledging the presence
of “numerous other factors suggesting that reinstatement is not feasible”).
        21 Bogan, 919 F.3d at 338–39.

        22 Doc. No. 356-1 at 22.

       23 Id. at 36. Although Southwest notes other flight attendants’ statements, the Court declines

to impute those to Carter. Doc. No. 355 at 9 n.7.

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contends—without citing any specific statements—that Carter used that group “as a

platform to make accusations regarding Southwest, its leaders, and her former co-

workers.”24       Southwest also insinuates that Carter may have distributed trial

materials to that group.25 Those communications can’t show the requisite animosity

for two reasons.

        First, Carter’s comments evince empathy and affection—not animosity—

towards her former colleagues. For instance, in a comment on the Facebook group,

Carter supports a flight attendant who was concerned about racial discrimination.26

Likewise, in her Facebook post about her case, Carter describes former Southwest

leaders whom she “admired” and “loved working” for.27

        Second, where Carter criticizes Southwest’s conduct, she does so in relation to

the “evidence in Court” and “my case.”28 But that animosity concerning Carter’s own

case is precisely the sort that is “common to litigation” and, therefore, cannot prevent

reinstatement lest “reinstatement [] cease to be a remedy except in cases where the

defendant felt like reinstating the plaintiff.”29




        24 Doc. No. 355 at 9.

        25 Id. at 9 n.6. But see Binh Hoa Le v. Exeter Fin. Corp., 990 F.3d 410, 417 (5th Cir. 2021) (“The

public’s right of access to judicial records is a fundamental element of the rule of law.” (cleaned up)).
        26 Doc. No. 356-1 at 43 (telling the flight attendant that “[no] one should ever[] be discriminated

for anything at [Southwest Airlines]”).
        27 Id. at 22.

        28 Id. at 43, 44; see also id. at 22 (decrying “what they did to me” in the instant case).

        29 Bogan, 919 F.3d at 338 (cleaned up).



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                                      b. Policy Critiques

       Southwest next points to two communications in which Carter criticized

particular policies of Southwest and Local 556. First, in a Facebook post, Carter

criticized Southwest’s COVID-19 vaccine mandate and said that she hoped

Southwest’s management team would get “BLASTED for what they are doing.”30

Second, in another post, Carter asserted that Local 556 used union dues to support

organ harvesting, sexual abuse, and sex trafficking.31 Those communications can’t

show the requisite animosity for three reasons.

       First, Carter’s comments once again evince empathy and affection—not

animosity—towards many of her former colleagues. For instance, Carter described

the flight attendants who resisted the vaccine mandate as “great employees.”32

       Second, Southwest’s concern with Carter’s objection to union spending is

misplaced because, as Southwest acknowledges, flight attendants “have the right to

disagree [with] or complain about [their] union.”33 The Supreme Court has long held

that the RLA prohibits unions from “forcing employees, over their objection, to

support political causes which they oppose.”34                 Carter previously acted as a

“nonmember objector” in Local 556, meaning that she objected to the union’s use of

her compelled fees to support “political, ideological, and other nonbargaining



       30 Doc. No. 356-1 at 32.

       31 Id. at 34.

       32 Id. at 32.

       33 Tr. Trans. at 1682:3–4.

        34 Baisley v. Int’l Ass’n of Machinists & Aerospace Workers, 983 F.3d 809, 810 (5th Cir. 2020)

(quoting Int’l Ass’n of Machinists v. Street, 367 U.S. 740, 764 (1961)).

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spending.”35 The Court cannot refuse to reinstate her because she might exercise her

federal rights again.

        Third, contrary to Southwest’s contention, Carter’s criticism of Southwest’s

vaccine mandate doesn’t evince “a generalized antipathy towards Southwest.”36 It

reflects disagreement with a particular policy. Southwest cites no case in which an

employee’s disagreement with a company’s policy irreparably damaged the parties’

relationship.      In fact, if opposition to Southwest’s vaccine mandate irreparably

damaged an employee’s relationship with Southwest to such a degree that continued

employment would disrupt the workplace, then Southwest should have fired every

flight attendant who disagreed with its vaccine mandate. It didn’t, so Southwest cries

wolf.

        Southwest counters by citing a case in which a court gleaned animosity from

“two [negative] social media posts.”37 Specifically, in Hunter v. Town of Mocksville,

897 F.3d 538 (4th Cir. 2018), a plaintiff seeking reinstatement as a police officer

described his city as a “crooked [expletive] hole of a town.”38 Hunter doesn’t control

the Court’s analysis for four reasons. First, Hunter is an out-of-circuit authority.

Second, Hunter applied an abuse-of-discretion standard of review, so it only decided

whether the district court relied on “a recognized barrier to reinstatement” and

whether any “record evidence” supported that conclusion—not whether the district



        35 Doc. No. 80 at 4.

        36 Doc. No. 355 at 8.

        37 Doc. No. 355 at 9 (quoting Hunter v. Town of Mocksville, 897 F.3d 538, 562 (4th Cir. 2018)).

        38 Hunter, 897 F.3d at 562.



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court got it right.39 Third, the Hunter district court was particularly concerned with

the plaintiff’s criticism of the town due to “the elevated need for trust among law

enforcement department personnel.”40        There is no “elevated need” for a flight

attendant to profess undying loyalty to her airline. Fourth, the plaintiff in Hunter

described his town as a “crooked [expletive] hole.”41 There is no evidence that Carter

has referred to Southwest as a “crooked [expletive] of an airline.”

                                     c. Relationships

      Southwest next notes that three employees who investigated Carter’s conduct

still work at Southwest: Ed Schneider, Meggan Jones, and Michael Sims. But their

testimony at trial didn’t oppose reinstatement. Jones testified that Carter “had

always been very friendly” and never caused “problems or . . . concerns” before this

case where the jury found she was exercising her federal rights.42 Schneider testified

that he was “[d]efinitely” “heavy-handed” in firing Carter.43 Sims described Carter

as “a long-term employee” with “a good employee record.” 44           In fact, Southwest

previously agreed to reinstate Carter45 in order to, as Sims put it, “give [Carter]




      39 Id.

      40 Id.

      41 Id.

      42 Tr. Trans. at 1675:21–25.

      43 Id. at 1141:21–22.

      44 Id. at 1718:9–10.

      45 Tr. Ex. 40.



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another chance.”46 In short, this is not a case where Carter’s superiors would rather

“shut [the business] down” than reinstate her.47

        Next, Southwest avers that Carter and “a significant number of current flight

attendants” harbor animosity, and that allowing Carter to “work side by side” with

these flight attendants “could compromise the safety of the operation.”48                           That

argument—pregnant with insinuation but barren of facts—leaves the Court with

more questions than answers: Who are these faceless flight attendants? Southwest

doesn’t identify them. Would they fly the same routes as Carter? Southwest doesn’t

say. How, exactly, would Carter compromise safety? Southwest remains mum. Has

Carter ever endangered her passengers previously? Crickets.49

        And rightfully so. Carter has never received discipline,50 so there’s no reason

to think she’d throw down at thirty-thousand feet. In short, Southwest has given the

Court no reason to find that Carter and her fellow flight attendants harbor the sort

of relational animosity that is “likely to disrupt the workplace.”51

                                         d. Political Views

        Lastly, Southwest decries Carter’s “controversial” Facebook posts about

“George Floyd; transgender issues; COVID-19 conspiracy theories; alleged



        46 Tr. Trans. at 1718:11, 1719:9–11.

       47 Schaeffer v. Warren Cnty., No. 3:14-CV-945-DPJ-FKB, 2017 WL 5709640, at *6 (S.D. Miss.

Nov. 27, 2017), aff’d, 744 F. App’x 871 (5th Cir. 2018) (per curiam).
        48 Doc. No. 355 at 11.

        49 The Court is confident that, if there is a specific list of employees Carter simply cannot work

alongside, then Southwest can structure an accommodation to prevent any conflict.
        50 Doc. No. 352-1 at 1.   Obviously, that excludes the instant case.
        51 Bogan, 919 F.3d at 338.



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manipulation of COVID-19 death numbers; and the alleged evils of George Soros, Bill

Gates, and Anthony Fauci.”52               Southwest may “wanna get away” from flight

attendants with whom it disagrees politically, but that won’t fly in this motion.53

         Perhaps Southwest missed the point of the jury verdict, so the Court must state

it again. The problem in this case was not speech. The problem was intolerance of

speech. In reinstating Carter, the Court is not concerned with Carter’s future speech.

The Court is concerned with how Southwest will treat her because of her future

speech.

         Given the Court’s concern with how Southwest will treat Carter over her future

political speech, what is a Court to do? Reinstate or not? There is only one viable

option. Southwest unlawfully fired Carter because of her speech. If the Court refuses

to reinstate her, the Court would complete Southwest’s unlawful scheme. But courts

are charged with righting wrongs, not completing them.

         The Court ORDERS that Charlene Carter be reinstated as a Southwest flight

attendant with full seniority and benefits.54




        52 Doc. No. 355 at 9 n.5. Those all appear to be important topics of civil discourse, so the Court

is puzzled about why such topics should be out-of-bounds for upstanding Southwest flight attendants.
         53 Cf. Doc. No. 80 at 5 (“They really do not want anyone to say anything that is against their

agenda at all . . . .”).
         54 Southwest promises the Court that it will “treat Carter just like every other employee” and

“will follow its established policies and practices governing the workplace.” Doc. No. 355 at 11 n.8.
And Southwest argues that “no court, administrative body, or factfinder has found [its policies] to be
unlawful.” Id. This is curious. Southwest clung to its policies during trial. The jury found that
Southwest violated federal law. So whether or not Southwest followed its policies, it violated federal
law. But even as it earnestly recommits to following the same policies that got it in trouble with the
jury, Southwest never commits to following federal law. Southwest misses the point again. It’s not
about following company policy. It’s about following federal law.

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                                           B. Back Pay

        For Title VII purposes, lost wages and benefits (“back pay”) don’t count as

compensatory damages, so the Court considers them separately.55 The jury found

that $150,000 would compensate Carter for her lost wages and benefits due to each

Defendant’s unlawful conduct.56            And “[w]hen a plaintiff [] suffer[s] a single or

indivisible injury,” each defendant generally is “jointly and severally liable for the

entire amount of damages.”57 Accordingly, Carter requests $150,000 from Southwest

and Local 556 jointly and severally. Southwest agrees.

        Local 556 counters that the jury did not find a “joint enterprise” between

Southwest and Local 556.58 Under the “joint enterprise” theory, multiple entities can

constitute a plaintiff’s “employer” for Title VII purposes if they “represent a single,

integrated enterprise.”59 The “joint enterprise” theory is inapposite for two reasons.

        Procedurally, Local 556’s “joint enterprise” argument challenges the merits of

Carter’s Title VII claims.60 Such challenges are appropriate in a defendant’s post-



        5542 U.S.C. § 1981a(b)(2) (“Compensatory damages awarded under this section shall not
include backpay [or] interest on backpay.”); see, e.g., Johnson v. Sw. Rsch. Inst., 384 F. Supp. 3d 722,
728 (W.D. Tex. 2019) (“Back pay and interest on back pay are not considered compensatory damages
under Title VII.”).
        56 Doc. No. 348 at 13, 24.

        57 Jackson v. City of St. Louis, 220 F.3d 894, 897 (8th Cir. 2000) (cleaned up); see also Aldrich

v. Thomson McKinnon Sec., Inc., 756 F.2d 243, 248 (2d Cir. 1985) (“The jury should be asked . . . what
amount of damages the plaintiff has suffered. Damages in this amount can then be awarded, jointly
and severally, against each defendant found liable.”).
       58 Doc. No. 357 at 3. Local 556 also argues about the sufficiency of the evidence. Id. at 6. The

Court disregards that argument because it is appropriate for post-judgment motions.
        59 Trevino v. Celanese Corp., 701 F.2d 397, 404 (5th Cir. 1983).

        60 See Anderson v. Pac. Mar. Ass’n, 336 F.3d 924, 928 (9th Cir. 2003) (recognizing that the

“joint employer” test “does not determine joint liability . . . but instead determines whether a
defendant can meet the statutory criteria of an ‘employer’ for Title VII applicability”).

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judgment motions—not in its response to a motion for judgment. Substantively,

Carter didn’t need to show that Local 556 was her “employer” because Title VII

provides an independent cause of action against “labor organization[s].”61

       The Court finds that Southwest and Local 556 are jointly and severally liable

to Carter for $150,000 in back pay and ORDERS the Defendants to pay Carter this

amount.

                                  C. Prejudgment Interest

       Carter seeks prejudgment interest on the jury’s $150,000 back pay award.62

“[T]here is a strong presumption in favor of awarding pre-judgment interest”63 to

account for “the time value of money,” and, consequently, to “make the plaintiff

whole.”64

       Southwest asserts that Carter is not entitled to prejudgment interest.

Although Carter seeks prejudgment interest on her backpay award, Southwest

points to her other awards—the compensatory and punitive awards—arguing that

those awards are so substantial that Carter is already made whole by receiving an

amount of compensatory and punitive awards “far in excess of what [Carter] would




       61 See Doc. No. 80 at 29 (alleging claims against Local 556 under 42 U.S.C. § 2000e-2(c) and

against Southwest under 42 U.S.C. § 2000e-2(a)); see also, e.g., 42 U.S.C. § 2000e-2(c)(3) (prohibiting
a “labor organization” from “caus[ing] or attempt[ing] to cause an employer to discriminate against an
individual”); 42 U.S.C. § 2000e-2(a)(1) (prohibiting an “employer” from “discharg[ing] any individual
. . . because of such individual’s . . . religion”).
       62 Because “[b]ack pay and interest on back pay are not considered compensatory damages

under Title VII,” Title VII’s damages cap doesn’t apply to this award. Johnson, 384 F. Supp. 3d at 728
(emphasis added).
       63 United States v. Ocean Bulk Ships, Inc., 248 F.3d 331, 344 (5th Cir. 2001).

       64 Thomas v. Tex. Dep’t of Criminal Justice, 297 F.3d 361, 372 (5th Cir. 2002).



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have earned had she remained employed.”65 But Southwest cites no case suggesting

that a wrongfully terminated employee’s punitive-damages award bars prejudgment

interest on a back-pay award. Nor could it. Courts often award prejudgment interest

on other awards—even with punitive damages on the books.66 And as to Southwest’s

contention that this amount exceeds what her pay would have been, Southwest was

free to put on evidence of what her pay would have been at trial. It didn’t. And in

any event, Southwest also cites no evidence to support its assertion now—just like it

raised nothing on this issue at trial.

       Next, the Court must determine the appropriate amount of prejudgment

interest. To ascertain this amount, courts must determine (1) the award on which

the court is assessing interest, (2) the relevant time period, and (3) the appropriate

interest rate.67 The relevant award is the jury’s $150,000 back pay award, and the

relevant time period is the number of days between Carter’s termination and this

judgment.68 Thus, Southwest agrees that “the only issue . . . is the appropriate

prejudgment interest rate.”69



       65 Doc. No. 355 at 17.

       66 See, e.g., Dunbar Med. Sys. Inc. v. Gammex Inc., 216 F.3d 441, 455 (5th Cir. 2000) (awarding

“pre-judgment interest . . . assessed on only the compensatory damages portion of [the] award”).
       67 See, e.g., Thomas, 297 F.3d at 372.

       68 See Thomas, 297 F.3d at 372 (“District courts generally should calculate interest on back

pay . . . based on the date of the adverse employment action.”); Kostic v. Tex. A & M Univ. at Commerce,
No. 3:10-CV-2265-M, 2015 WL 4775398, at *2 (N.D. Tex. Aug. 13, 2015) (calculating the appropriate
time period for prejudgment interest by measuring “[t]he number of days that have passed since
December 9, 2010, and the date of this Order”); Stanton v. Jarvis Christian Coll., No. 6:18-CV-479-
JDK-JDL, 2020 WL 5269439, at *1 (E.D. Tex. Aug. 27, 2020) (awarding “pre-judgment interest . . .
from the date Jarvis terminated her employment . . . through the date of Judgment”), aff’d, No. 20-
40581, 2022 WL 738617 (5th Cir. Mar. 11, 2022).
       69 Doc. No. 365 at 3.



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        “No federal statute specifies what rate of prejudgment interest applies when a

plaintiff prevails on a claim under Title VII.”70 And where federal law is silent on the

prejudgment interest rate, “state law is an appropriate source of guidance.”71 The

Texas Supreme Court has made clear that “prejudgment interest accrues at the rate

for postjudgment interest.”72 And under Texas law, postjudgment interest accrues

at “the prime rate as published by . . . the Federal Reserve System on the date of

computation.”73       Because the Federal Reserve’s prime interest rate is currently

7.00%, that’s the appropriate prejudgment interest rate.74 Defendants raise two

objections.

        First, they contend that the Court should “apply the post-judgment rate set

forth [in] 28 U.S.C. § 1961,” which is currently 4.75%.75 But the Fifth Circuit “has

already rejected” the argument that courts ought to apply 28 U.S.C. § 1961 to

determine “awards of prejudgment interest.”76

        Second, Defendants argue the Court should apply the average prime rate

between Carter’s termination and judgment.77                      Here’s why that would help



        70 Autry v. Ahern Rentals, Inc., No. EP-19-CV-00154-DCG, 2022 WL 4491085, at *2 (W.D. Tex.

Sept. 26, 2022).
        71 U.S. for Use & Benefit of Canion v. Randall & Blake, 817 F.2d 1188, 1193 (5th Cir. 1987).

        72 Johnson & Higgins of Tex., Inc. v. Kenneco Energy, Inc., 962 S.W.2d 507, 532 (Tex. 1998).

        73 Tex. Fin. Code § 304.003(c)(1).

        74 Selected Interest Rates (Daily), BOARD OF GOVERNORS OF THE FEDERAL RESERVE SYSTEM

https://www.federalreserve.gov/releases/h15/ (last visited Dec. 5, 2022).
        75 Doc. No. 365 at 4.

        76 Hansen v. Cont’l Ins. Co., 940 F.2d 971, 984 (5th Cir. 1991).

       77 See, e.g., Stanton, 2020 WL 5269439, at *1 (employing “the average prime rate

between [] termination . . . and the date of judgment”).

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Defendants: Since Carter moved for judgment, in the face of soaring inflation, the

Federal Reserve has increased the prime rate from 4.75% to 7.00%—the highest rate

in years. Because Defendants balk at the December 2022 prime rate, they hope to

cherry-pick lower interest rates from better economic times. They complain that

“applying the December 2022 rate would” improperly “punish” them and premise

Carter’s award “on an interest rate environment that did not exist during the relevant

time period.”78

       Defendants equivocate on “the relevant time period,” characterizing it as “the

time [period during which] Carter would have received the back pay.”79 But that’s

wrong. “Prejudgment interest . . . convert[s] time-of-[injury] damages into time-of-

judgment damages”—not time-of-back-pay damages.80                    Artificially reducing the

prime rate would effectively deprive Carter of “the time value of money.”81 To ensure

that its judgment makes Carter whole, the Court thus exercises its discretion to

follow the myriad courts that determine the prime rate “[a]s of the date of th[eir]

Memorandum Opinion.”82




       78 Doc. No. 365 at 2, 4.

       79 Id. at 4.

       80 Anthony E. Rothschild, Prejudgment Interest: Survey and Suggestion, 77 Nw. U.L. Rev. 192,

192 (1982); see also W. Virginia v. United States, 479 U.S. 305, 311 n.2 (1987) (requiring that
prejudgment interest compensate a plaintiff “for the loss of use of money due as damages from the
time the claim accrues until judgment is entered” (emphasis added)).
       81 Thomas, 297 F.3d at 372.

       82 Autry, 2022 WL 4491085, at *3.



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       Carter requests approximately $22,649 in prejudgment interest.83 She gets to

that number by “multiplying the monthly back pay owed . . . , the number of days

between March 14, 2017 and each date when the Federal Reserve increased the prime

rate . . . , and the prejudgment interest rate for the applicable period.”84 But the

proper equation the law mandates is much simpler: Damages (D) multiplied by the

interest rate (R) multiplied by the time (in years) since termination (T): (D x R x T).85

The back pay award here is $150,000. The prime rate is 7.0%. There have been 2,092

days (approximately 5.73 years) between Carter’s termination on March 14, 2017 and

the date of this judgment on December 5, 2022. Multiplying those numbers results

in $60,180.82.86




       83 As explained below, Carter’s prejudgment-interest math is wrong. Can the Court order more

prejudgment interest than she requested? Sure. The Court is under a legal duty to correctly calculate
prejudgment interest based on the rates the law specifies. While the Court asked for the parties’ input,
the Court didn’t have to have that input and isn’t bound by it.
       84 Doc. No. 363 at 4.

       85 See Autry, 2022 WL 4491085, at *4 (multiplying a $100,000 award by a 6.25 interest rate by

1,204 days to get a prejudgment-interest amount of $20,616.44); Johnson, 384 F. Supp. 3d at 727
(multiplying a $150,000 award by a 5.5% interest rate by 2,470 days to get a prejudgment-interest
amount of $55,828.77). Some courts get to the same number another way—by determining the daily
interest rate and multiplying that number times the relevant number of days. See Cont’l Cas. Co. v.
Macon Inc., No. 4:20-CV-086-A, 2020 WL 6437667, at *1 (N.D. Tex. June 24, 2020) (“Five percent of
$527,053.00 is $26,352.65. The daily interest is $26,352.65 divided by 365 days, or $72.19 . . . . The
number of days between August 18, 2019 and June 22, 2020 is 309 days. Because the pre-judgment
interest increased by $72.19 daily during the accrual period, the total pre-judgment interest due is
$72.19 times 309 days, totaling $22,306.71”); Kostic, 2015 WL 4775398, at *2 (“[T]he amount
of prejudgment interest per day is $41.10. The number of days that have passed since December 9,
2010, and the date of this Order, August 13, 2015, including December 9, 2010, but not including
August 13, 2015, is 1708 days. 1708 multiplied by $41.10 is $70,198.80.”).
        86 Here’s the equation: (150,000 x 0.07 x 5.73150685) = 60,180.82. In the alternative format,

the Court could find the daily interest and multiply it times the number of days between Carter’s
termination and this judgment: 7% of 150,000 is 10,500. The daily interest is 10,500 divided by 365,
which equals 28.7671233. And 28.7671233 times 2,092 days equals 60,180.82. Whether we call it six
or a half dozen, the amount is and must be the same under either the yearly or daily equation.

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       The Court finds that Defendants are jointly and severally liable to Carter for

$60,180.82 in prejudgment interest and ORDERS them to pay her that amount.

                       D. Compensatory and Punitive Damages

       The jury awarded Carter $500,000 in compensatory damages for past and

future pain and suffering that both Defendants caused. The jury also awarded Carter

$3,800,000 in punitive damages—$300,000 from Local 556 and $3,500,000 from

Southwest. But Title VII caps the amount of punitive and compensatory damages

from an employer with “more than 500 employees” to “$300,000.”87                          Because

Southwest has over 500 employees and Local 556 has over 500 members, Carter

requests $300,000 from Southwest and another $300,000 from Local 556. Although

Southwest agrees, Local 556 raises three objections.

       First, Local 556 contends that the Court must identify which portions of the

$300,000 award are compensatory and which are punitive. Tellingly, Local 556

doesn’t cite any authority requiring such apportionment. And contrary to Local 556’s

position, courts in this Circuit haven’t apportioned such capped awards.88

       Second, Local 556 contends—again sans authority—that the Court should

assess compensatory and punitive damages jointly and severally, so that Local 556

and Southwest share a single $300,000 award.                 But the jury assessed separate

punitive damages awards for Southwest and Local 556, so the Court can’t impose

those separate awards jointly and severally.


       87 42 U.S.C. § 1981a(b)(3).

        88 See, e.g., Johnson, 384 F. Supp. 3d at 727 (reducing compensatory damages and prejudgment

interest to $300,000 without apportioning each award).

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        Third, Local 556 contends that it should only have to pay $50,000 in

compensatory and punitive damages—not $300,000. Here’s its rationale: Title VII

caps damages at $300,000 for an entity with “more than 500 employees,” but it caps

damages at $50,000 for an entity with “more than 14 and fewer than 101

employees.”89 Although Local 556 has more than 500 members, it has fewer than

100 employees.90 Thus, the argument goes, because Title VII’s damages cap hinges

on the number of employees, Local 556 is entitled to the lower $50,000 cap.

        Although Local 556’s statutory interpretation initially appears plausible, its

Achilles’ heel is its failure to consider the statutory context.91 Here’s the relevant

context: In general, entities are subject to Title VII only if they meet a threshold

number of participants. For instance, Title VII assesses a union by “the number of

its members”—only unions with “fifteen or more” members are subject to Title VII.92

Similarly, Title VII assesses a corporate employer by its number of employees—only

employers with “fifteen or more employees” are subject to Title VII.93

        Unsurprisingly, then, Title VII’s incremental damages cap stops at entities

with fifteen or more employees.94 Title VII doesn’t cap damages for entities with

fewer than fifteen employees for a simple reason—Title VII doesn’t apply to




        89 42 U.S.C. § 1981a(b)(3)(A), (b)(3)(D).

        90 See Doc. No. 352-3 at 2; Doc. No. 357 at 6.

        91 See West Virginia v. E.P.A., 142 S. Ct. 2587, 2607 (2022) (“[T]he words of a statute must be

read in their context and with a view to their place in the overall statutory scheme.” (cleaned up)).
        92 42 U.S.C. § 2000e(e) (emphasis added).

        93 42 U.S.C. § 2000e(b).

        94 42 U.S.C. § 1981a(b)(3)(A) (capping damages for entities with “more than 14” employees).



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entities with fewer than fifteen participants. Such a cap would be extraneous.

Thus, although the damages-cap provision uses “employee”—and not “member”—

every court that’s addressed the issue has concluded that “[i]t makes no sense to use

the numbers of employees as the criterion for damages caps in union cases.”95 And

the Equal Employment Opportunity Commission has likewise concluded that the

statute’s use of “employee,” instead of a broader term, may have been a “drafting

error.”96 In short, Title VII’s damages cap applies based on a union’s number of

members. Local 556 has more than 500 members, so it’s subject to the $300,000

damages cap.

        Even assuming, for argument’s sake, that Title VII caps a union’s damages

based on its number of employees, Local 556 would obtain only a pyrrhic victory. Title

VII provides no damages cap for entities with fewer than fifteen employees.97 And,

as Local 556 admits, it “currently employs four (4) full time individuals.”98 Thus, if




        95 Dowd v. United Steelworkers of Am., Loc. No. 286, 253 F.3d 1093, 1100 (8th Cir. 2001); accord

Stelly v. W. Gulf Mar. Ass’n, 407 F. Supp. 3d 673, 687 (S.D. Tex. 2019) (adopting Dowd’s reasoning).
        96 Enforcement Guidance: Compensatory and Punitive Damages Available Under § 102 of the

Civil    Rights     Act   of     1991,     EQUAL      EMPLOYMENT      OPPORTUNITY      COMMISSION,
https://www.eeoc.gov/laws/guidance/enforcement-guidance-compensatory-and-punitive-damages-
available-under-sec-102-cra (last visited Nov. 27, 2022). Although the Commission has nevertheless
suggested that courts should cap damages based on a union’s number of employees, Doc. No. 357 at 5,
the Court need not defer to that interpretation because, “in enacting Title VII, [Congress] did not
confer upon the [Commission] authority to promulgate rules or regulations.” Gen. Elec. Co. v. Gilbert,
429 U.S. 125, 141 (1976).
        97 See generally 42 U.S.C. § 1981a; see also Dowd, 253 F.3d at 1100 (“[I]f § 1981a(b) is read

with absolute literalness, there would be no damages cap in this case.”).
         98 Doc. No. 357-1 at 1. Although Local 556 attempts to inflate that number by referencing

“forty five (45) people who are either on part time or full time ‘pulls’ from flying duties to work in the
Union office,” it doesn’t aver that any of those workers are Local 556 employees. Id. at 2.

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the Court were to accept Local 556’s own interpretation, Local 556 wouldn’t enjoy

any damages cap: Instead, it would owe Carter $800,000—not $50,000.

       Local 556’s self-own99 aside, Carter admits she only seeks $300,000 from Local

556 for compensatory and punitive damages—which the law allows her to recover.

Accordingly, the Court ORDERS Local 556 to pay Carter $300,000 in compensatory

and punitive damages and ORDERS Southwest to pay Carter $300,000 in

compensatory and punitive damages.

                                 E. Declaratory Judgment

       The jury found that (1) Defendants violated the RLA by terminating Carter,

(2) Defendants violated Title VII by discriminating against her and failing to

accommodate her, and (3) Local 556 breached its duty of fair representation. Carter

now seeks a declaratory judgment restating each of those propositions.

       A declaratory judgment is appropriate where it (1) “will serve a useful purpose

in . . . settling [] legal relations” and (2) “will . . . afford relief from the uncertainty,

insecurity, and controversy giving rise to the proceeding.”100 A declaratory judgment

doesn’t “serve a ‘useful purpose’ when a fact-finder has already settled the legal

relations in issue.”101 For instance, when a plaintiff’s proposed declaratory judgment




        99 Self-Own, CAMBRIDGE DICTIONARY, https://dictionary.cambridge.org/us/dictionary/english/

self-own (last visited Nov. 27, 2022) (defining “self-own” as “a statement or an act in which you
unintentionally embarrass yourself”).
       100 Env’t Tex. Citizen Lobby, Inc. v. ExxonMobil Corp., 824 F.3d 507, 523 (5th Cir. 2016).

       101 Id. (cleaned up).



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merely “restate[d] . . . the jury verdict,” the court “in its discretion decline[d] to enter”

that declaratory judgment.102

       The Court wholeheartedly agrees with court concerns about useless

declaratory judgments. In America, the people are the only true source of authority

to govern. And “We the People” reserved their right to decide civil cases such as this

under the Seventh Amendment. The Court is a mere magistrate, a servant of We the

People. And the Constitution rightly calls such magistrates “inferior.”103 The Court

cannot add any importance to the verdict of We the People by stating their verdict as

a declaratory judgment of the Court.

       Accordingly, the Court DENIES Carter’s request for a declaratory judgment.

                                        F. Injunctive Relief

       Lastly, Carter requests various forms of injunctive relief. “[I]n the wake of a

Title VII violation,” it is well established that “injunctive relief is mandatory . . .

absent clear and convincing proof of no reasonable probability of further

noncompliance with the law.”104 Although the general rule is that “the moving party

must satisfy the court that relief is needed,”105 that rule flips in the Title VII context:

“The burden of negating that probability [of further noncompliance] lies with the

defendants.”106


        102 Wojcik v. Costco Wholesale Corp., No. 3:13-CV-2314-D, 2016 WL 304872, at *6 (N.D. Tex.

Jan. 26, 2016) (Fitzwater, J.).
       103 U.S. CONST. art. III, § 1.

        104 E.E.O.C. v. Boh Bros. Const. Co., L.L.C., 731 F.3d 444, 469–70 (5th Cir. 2013) (en banc)

(cleaned up); accord James v. Stockham Valves & Fittings Co., 559 F.2d 310, 354–55 (5th Cir. 1977).
       105 United States v. W. T. Grant Co., 345 U.S. 629, 633 (1953).

       106 E.E.O.C. v. Rogers Bros., Inc., 470 F.2d 965, 967 (5th Cir. 1972).



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       Ironically, instead of negating the probability of noncompliance, Southwest

itself has demonstrated a likelihood of noncompliance. Southwest advises the Court

that it continues to troll Carter’s Facebook page to find “controversial” posts.107 It

warns that, should the Court reinstate Carter, she may again engage in the same—

protected—conduct “that led to her termination.”108 Although Southwest promises to

“follow its established policies and practices”109 with Carter, those are the precise

“company policies and rules” it previously cited as the basis for firing Carter.110 In

short, Southwest’s brief effectively provides a blueprint for how to fire Carter again.

       Although Southwest promises to “treat Carter just like every other employee”

at Southwest,111 its “[p]rotestations o[f] repentance and reform timed to . . . blunt the

force of a lawsuit offer insufficient assurance that the practice sought to be enjoined

will not be repeated.”112 Southwest has only fueled the Court’s concern that it will

again attempt to violate the law vis-à-vis Carter.

       Southwest counters by citing one case in which the Fifth Circuit said that, “to

pursue an injunction . . . , the plaintiff[] must allege a likelihood of future violations

of [its] rights by the defendant[s], not simply future effects from past violations.”113

And it claims that Carter has failed to make such an allegation in her complaint. But


       107 Doc. No. 355 at 9 n.5.

       108 Id. at 10.

       109 Id. at 11 n.8.

       110 Doc. No. 80 at 18.

       111 Doc. No. 355 at 11 n.8.

       112 James, 559 F.2d at 354–55 (cleaned up).   It’s also not clear that Southwest’s agreement to
treat Carter “like every other employee” is an assurance it will comply with the law. See id. at 355.
       113 Armstrong v. Turner Indus., Inc., 141 F.3d 554, 563 (5th Cir. 1998) (cleaned up).



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that case is doubly distinguishable.               First, the plaintiff there did not “seek

employment . . . again” with his old employer—but the Court has already required

Southwest to reinstate Carter.114 Second, that case involved a motion for summary

judgment where the Fifth Circuit found a dearth of standing.115 It did not occur in

the wake of a jury verdict, where “[t]he burden of negating th[e] probability [of

noncompliance] lies with the defendants.”116 But more fundamentally, Southwest

has ably shown it intends to closely monitor Carter in the future (as it has already

been doing for the purpose of fighting reinstatement). So even under the incorrect

legal standard Southwest articulates, protecting Carter from future violations would

almost certainly require imposing an injunction.

        Next, the Court must decide on the appropriate injunctive relief. The Court

may not issue a general “‘obey the law’ injunction[].”117 Instead, Federal Rule of Civil

Procedure 65(d)(1)(A)–(C) requires the Court to “(A) state the reasons why it issued

[the injunction]; (B) state its terms specifically; and (C) describe in reasonable

detail—and not by referring to the complaint or other document—the act or acts

restrained or required.” That “specificity requirement is not unwieldy,” and the Court




        114 Id.; see also Gordon v. JKP Enterprises Inc., No. 01-20420, 2002 WL 753496, at *7 (5th Cir.

Apr. 9, 2002) (recognizing that “the facts do not warrant injunctive relief” where the plaintiffs “do not
seek reinstatement” and thus “have shown no [] way in which they would benefit from the injunction”).
        115 Armstrong, 141 F.3d at 563–64.

        116 Rogers Bros., 470 F.2d at 967.

        117 Payne v. Travenol Lab’ys, Inc., 565 F.2d 895, 898 (5th Cir. 1978).



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only must provide enough detail “so that those enjoined will know what conduct the

court has prohibited.”118

      Carter asks the Court for three types of injunctions: She asks the Court to

(1) enjoin Southwest and Local 556 “from engaging in any of the activities that . . .

the jury found to be unlawful,” (2) “order Southwest and Local 556 to institute . . .

policies, practices, and programs which provide equal employment opportunities . . .

and which eradicate the effects of their . . . unlawful employment practices,” and

(3) “order other affirmative relief necessary to eradicate the effects of Southwest’s and

Local 556’s unlawful employment practices.”119 The Court examines each in turn.

      First, Carter asks the Court to enjoin Defendants’ unlawful conduct.

Southwest requests a narrow injunction that applies only to Carter, saying that

Carter “lacks standing to request injunctive relief as to alleged harm to others.”120

Southwest is correct that the Court’s injunction must “redress the particular injuries

[Carter] alleges.”121 But Southwest is wrong to say that the Court’s injunction cannot

apply to Southwest’s treatment of other similar employees. As the Fifth Circuit has

made clear, “[a]n individual who brings a Title VII suit takes on the mant[le] of the

sovereign” with the purpose of “eliminat[ing] discrimination and recompens[ing]

those who have suffered from it.”122 Thus, “[i]njunctive relief which benefits non-




      118 Meyer, 661 F.2d at 373.

      119 Doc. No. 351 at 17–18.

      120 Doc. No. 355 at 20.

      121 James, 254 F.3d at 564.

      122 Meyer, 661 F.2d at 373 (cleaned up).



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parties may sometimes be proper even where the suit is not brought as a Rule 23

class action.”123 In short, “in Title VII cases, once the judicial machinery has been set

in train, the proceeding takes on a public character in which remedies are devised to

vindicate the policies of the Act, not merely to afford private relief to the employee.”124

          Throughout this case—and especially in their briefing regarding the instant

motion—Defendants have repeatedly failed to appreciate the problem with their

conduct involving Carter. The jury found the Defendants were grossly intolerant of

their flight attendants’ speech in violation of federal law. And, even now, their

lawyers continue to hunt for “controversial” social-media posts from Carter instead

of pondering their own mistakes and planning a future life free of them.                           But

Southwest’s eyes aren’t just on Carter. They appear to be monitoring other flight

attendants as well, especially regarding a Facebook group with 1,600 members

dedicated to sharing transcripts and depositions from this trial.125                          Because

Southwest has only doubled down on its speech suppression since the jury’s verdict,

justice requires the Court to enjoin that unlawful conduct. And the policies of Title

VII require the Court to prohibit that conduct more broadly, especially when

Defendants appear poised to repeat it with other flight attendants.126


        123 Id. at 374; see also Carmichael v. Birmingham Saw Works, 738 F.2d 1126, 1136 (11th Cir.

1984) (recognizing that “classwide injunctive relief may be appropriate in an individual action”).
          124 Gordon, 2002 WL 753496, at *7 (cleaned up); see also E.E.O.C. v. Serv. Temps, No. 3:08-CV-

1552-D, 2010 WL 5108733, at *4 (N.D. Tex. Dec. 9, 2010) (Fitzwater, J.) (recognizing that, in Title VII
actions, courts have “broad discretion to craft an injunction that will ensure the employer’s compliance
with the law” (cleaned up)), aff’d sub nom. E.E.O.C. v. Serv. Temps Inc., 679 F.3d 323 (5th Cir. 2012).
          125 See Doc. No. 355 at 9 (Southwest response brief expressing concern about the Facebook

group).
          126 See, e.g., Serv. Temps, 2010 WL 5108733, at *5 (enjoining an employer “from discriminating

against any employee” even where “this case involves only one discriminatory act against one

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        Accordingly, the Court ENJOINS Defendants from discriminating against

Southwest flight attendants for their religious practices and beliefs, including—but

not limited to—those expressed on social media and those concerning abortion.127

The Court ENJOINS Defendants from failing to reasonably accommodate Southwest

flight attendants’ sincerely held religious beliefs, practices, and observances. Lastly,

the Court ENJOINS Defendants from discriminating against Carter for exercising

her rights, under the RLA, to resign from membership in Local 556 and to object to

the forced payment of political and other nonchargeable union expenses, including—

but not limited to—objections to union expenditures contained in social media

posts.128

        Second, Carter asks the Court to require Southwest to institute ill-defined

“policies, practices, and programs” to remedy discrimination.129                     Because Carter

doesn’t explain exactly what policies she requests, Defendants would not “know what

conduct the court has prohibited” based on such an injunction.130 The Court declines

to issue it. For the same reason, the Court also declines Carter’s request to issue an




potential employee by one manager” (emphasis added)); Abrams v. Baylor Coll. of Med., 581 F. Supp.
1570, 1580 (S.D. Tex. 1984) (enjoining a defendant, in a case involving discrimination against two
individual plaintiffs, “from excluding qualified Jews from the King Faisal rotation program”).
        127 See Meyer, 661 F.2d at 374 (recognizing, in the Title VII context, that “[i]njunctive relief

which benefits non-parties may sometimes be proper”).
        128 See Steele v. Louisville & N.R. Co., 323 U.S. 192, 207 (1944) (recognizing that the RLA

“contemplates resort to the usual judicial remed[y] of injunction”). Because there is a lack of authority
demonstrating that RLA injunctions can broaden to nonparties like Title VII injunctions can, the Court
opts to have the RLA injunction only cover Carter.
        129 Doc. No. 351 at 18.

        130 Meyer, 661 F.2d at 373.



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injunction “which eradicates the effects of [the Defendants’] past . . . unlawful

employment practices.”131

       Third, Carter requests “other affirmative relief necessary to eradicate the

effects of Southwest’s and Local 556’s unlawful employment practices.”132 This time

she provides examples. She asks the Court to require Local 556 to post the jury’s

verdict and this judgment “at the union hall for a 60-day period” and “issue it

electronically to all union members.”133 Likewise, she wants Southwest to post the

verdict and judgment “on company bulletin boards for a 60-day period” and to “email

the same to all flight attendants.”134 She also requests that “Southwest and Local

556 [] inform Southwest flight attendants of their Title VII and RLA rights under

Section 152 (Third) and (Fourth), and notify them of Southwest’s accommodation

policy.”135

       Because the Court has enjoined Defendants’ unlawful conduct against all

Southwest flight attendants and Local 556 members under Title VII, the Court finds

that Carter’s proposed injunctions are fitting “to vindicate the policies of” Title VII.136

Accordingly, the Court ORDERS Local 556 to post the jury’s verdict and the

accompanying Final Judgment in conspicuous places at the union hall for a 60-day




       131 Doc. No. 351 at 18.

       132 Id. at 17–18.

       133 Id.

       134 Id.

       135 Id.

       136 Gordon, 2002 WL 753496, at *7 (cleaned up).



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period and issue them electronically to all union members.137 The Court likewise

ORDERS Southwest to post the jury’s verdict and the accompanying Final Judgment

on company bulletin boards for a 60-day period and issue them electronically to all

Southwest flight attendants.138 The Court ORDERS Southwest and Local 556 to

inform Southwest flight attendants that, under Title VII, they may not discriminate

against Southwest flight attendants for their religious practices and beliefs,

including—but not limited to—those expressed on social media and those concerning

abortion.

                                       III. Conclusion

       For the foregoing reasons, the Court GRANTS IN PART and DENIES IN

PART Carter’s motion for judgment.                 Specifically, the Court ORDERS that

(1) Charlene Carter shall be reinstated as a Southwest flight attendant with full

seniority and benefits, (2) Southwest and Local 556 are jointly and severally liable to

Carter for $150,000 in back pay and $60,180.82 in prejudgment interest, (3) Local

556 must pay Carter $300,000 in compensatory and punitive damages, and

(4) Southwest must pay Carter $300,000 in compensatory and punitive damages. The

Court ENJOINS both defendants as described above.                     The Court will enter a

separate Final Judgment.




       137  See Serv. Temps, 2010 WL 5108733, at *5 (ordering a discriminatory employer to “post
copies of the notice [to employees] in conspicuous places in each of the offices that [the employer]
operates”).
       138 Id.



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     IT IS SO ORDERED this 5th day of December, 2022.




                                          ___________________________________
                                          BRANTLEY STARR
                                          UNITED STATES DISTRICT JUDGE




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